                                                            Entered on Docket
                                                            June 25, 2019
                                                            EDWARD J. EMMONS, CLERK
                                                            U.S. BANKRUPTCY COURT
                                                            NORTHERN DISTRICT OF CALIFORNIA

 1       John W. Lucas (CA Bar No. 271038)
         Jason H. Rosell (CA Bar No. 269126)
 2       Pachulski Stang Ziehl & Jones LLP               Signed and Filed: June 25, 2019
         150 California Street, 15th Floor
 3       San Francisco, California 94111-4500
         Telephone: 415.263.7000
 4       Facsimile:     415.263.7010
         Email:         jlucas@pszjlaw.com
 5                      jrosell@pszjlaw.com              __________________________________________
                                                         HANNAH L. BLUMENSTIEL
 6       Attorneys for Debtor                            U.S. Bankruptcy Judge

 7
                                      UNITED STATES BANKRUPTCY COURT
 8                                    NORTHERN DISTRICT OF CALIFORNIA
                                           SAN FRANCISCO DIVISION
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     In re:                                                      Case No. 18-31087 (HLB)
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               SEDGWICK, LLP,                                    Chapter 11
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                                Debtor.                          ORDER APPROVING THE COMPROMISE
12                                                               OF A CONTROVERSY AMONG THE
                                                                 DEBTOR AND THYSSENKRUPP
13                                                               ELEVATOR CORPORATION
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15             This matter came before the Court on the Motion for Order Approving the Compromise of a

16   Controversy Among the Debtor and thyssenkrupp Elevator Corporation (the “Motion”) filed by the

17   above-captioned debtor and debtor in possession (the “Debtor”).1 The Court having reviewed the

18   Motion and the declaration of Gregory C. Read filed in support thereof and finding that notice of the

19   Motion was reasonable and appropriate under the circumstances, that the relief requested in the

20   Motion is in the best interest of the Debtor’s estate and its creditors; and the Court having determined

21   that the legal and factual bases set forth in the Motion establish just cause for the relief granted herein;

22             IT IS HEREBY ORDERED THAT:

23             1.       The Motion is GRANTED.

24             2.       The Debtor is authorized to compromise the Account Receivable on the terms and

25   conditions set forth in the Motion without further order of the Court.

26             3.       The Former Client shall pay the Settlement Amount (i.e., $30,000) to the Debtor

27   promptly after entry of this Order.

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           A capitalized term used but not defined herein shall have the meaning ascribed to it in the Motion.

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 1           4.         The Debtor and Former Client are authorized to take any and all actions as may be

 2   necessary to implement the terms of the Settlement and this Order.

 3           5.         This Court shall retain jurisdiction over all matters arising from or related to the

 4   Settlement or the implementation of this Order.

 5                                             **END OF ORDER**

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 1                                       COURT SERVICE LIST

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